30 F.3d 130
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Phillip REYNOLDS, Petitioner Appellant,v.DEPARTMENT OF CORRECTIONS, Respondent Appellee.
    No. 94-6309.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 23, 1994.Decided July 20, 1994.
    
      Appeal from the United States District Court for the Northern District of West Virginia, at Elkins.  Robert Earl Maxwell, District Judge.  (CA-94-2-E)
      Phillip Reynolds, Appellant Pro Se.
      DISMISSED.
      Before MURNAGHAN and WILKINS, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Reynolds v. Department of Corrections, No. CA-94-2-E (N.D.W. Va.  Jan. 27, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    